                  Case 4:22-cr-00332-JSW Document 17 Filed 02/28/24 Page 1 of 2




 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney
 2
   MARTHA BOERSCH (CABN 126569)
 3 Chief, Criminal Division

 4 MOLLY K. PRIEDEMAN (CABN 302096)
   Assistant United States Attorney
 5
          1301 Clay Street, Suite 340S
 6        Oakland, California 94612
          Telephone: (510) 637-3680
 7        FAX: (510) 637-3724
          molly.priedeman@usdoj.gov
 8
   Attorneys for United States of America
 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                          OAKLAND DIVISION
12

13   UNITED STATES OF AMERICA,                       )   NO. 22-CR-00332-JSW
                                                     )
14           Plaintiff,                              )   NOTICE OF DISMISSAL; ORDER GRANTING
                                                     )
15      v.                                           )   LEAVE TO DISMISS AND QUASHING
                                                     )
16   JAITEG SINGH WARAICH,                           )   WARRANT
                                                     )
17           Defendant.                              )   Re: Dkt. No. 16
                                                     )
18
19           With leave of the Court, and pursuant to Federal Rule of Criminal Procedure 48(a), the United
20 States Attorney for the Northern District of California dismisses the information in the above-captioned

21 case against Jaiteg Singh Waraich and moves that the Court quash the arrest warrant issued in

22 connection with the information in this case against Jaiteg Singh Waraich.

23

24

25

26

27           //
28
     NOTICE OF DISMISSAL
     No. CR __22-cr-00332-JSW _________
           v. 8/4/2021
               Case 4:22-cr-00332-JSW Document 17 Filed 02/28/24 Page 2 of 2




 1          The United States has obtained a copy of a report from the Canadian government confirming that

 2 Mr. Waraich has passed away.

 3

 4 DATED: February 27, 2024                                       Respectfully submitted,

 5                                                                ISMAIL J. RAMSEY
                                                                  United States Attorney
 6

 7                                                               /s/ Martha Boersch
                                                                  MARTHA BOERSCH
 8                                                                Chief, Criminal Division

 9

10          Leave is granted to the government to dismiss the information against Jaiteg Singh Waraich. It

11 is further ordered that the arrest warrant issued in connection with the information in this case is

12 quashed.

13

14

15 Date: February 28, 2024
                                                                  HON. JEFFREY S. WHITE
16                                                                United States District Judge

17

18
19

20

21

22

23

24

25

26

27

28
     NOTICE OF DISMISSAL
     No. CR __22-cr-00332-JSW _________
           v. 8/4/2021
